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                                                   21 MAG 5686
Approved: ________________________________
          ROBERT B. SOBELMAN
          Assistant United States Attorney

Before:      THE HONORABLE SARAH L. CAVE
             United States Magistrate Judge
             Southern District of New York

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                                       :
 UNITED STATES OF AMERICA
                                       :      SEALED COMPLAINT
               - v. -
                                       :      Violations of
 JOSHUA HALL,                                 18 U.S.C. §§ 1343,
                                       :      1028A, and 2
                     Defendant.
                                       :
- - - - - - - - - - - - - - - - x

SOUTHERN DISTRICT OF NEW YORK, ss.:

     KATRINA LAPERUTA, being duly sworn, deposes and says that
she is a Special Agent with the Federal Bureau of Investigation
(“FBI”), and charges as follows:

                                  COUNT ONE
                                (Wire Fraud)

          1.   From at least in or about September 2019 up to
and including at least in or about December 2020, in the
Southern District of New York and elsewhere, JOSHUA HALL, the
defendant, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud, and for obtaining
money and property by means of false and fraudulent pretenses,
representations, and promises, did transmit and cause to be
transmitted by means of wire and radio communication in
interstate and foreign commerce, writings, signs, signals,
pictures, and sounds for the purpose of executing such scheme
and artifice, and attempted to do the same, to wit, HALL
defrauded hundreds of victims by making false representations,
both in his own name and when impersonating others, in the
course of soliciting funds for a purported political affinity
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organization that did not exist and then used the funds raised
for his own personal living expenses.

      (Title 18, United States Code, Sections 1343 and 2.)


                             COUNT TWO
                    (Aggravated Identity Theft)

          2.   From at least in or about September 2019, up to
and including at least in or about December 2020, in the
Southern District of New York and elsewhere, JOSHUA HALL, the
defendant, knowingly did transfer, possess, and use, without
lawful authority, a means of identification of another person,
during and in relation to a felony violation enumerated in
Title 18, United States Code, Section 1028A(c), and attempted to
do the same, to wit, HALL, without lawful authority, used the
names and photographs of at least two victims to impersonate
them on social media in order to fraudulently solicit funds and
falsely confer HALL with legitimacy, during and in relation to
the offense charged in Count One of this Indictment.

  (Title 18, United States Code, Sections 1028A(a)(1) and (b),
                             and 2.)


     The bases for my knowledge and for the foregoing charges
are, in part, as follows:

          3.   I am a Special agent with the FBI and I have been
personally involved in the investigation of this matter. This
affidavit is based upon my personal participation in the
investigation of this matter, my conversations with other law
enforcement agents, witnesses, and others, as well as my
examination of reports and records. Because this affidavit is
being submitted for the limited purpose of establishing probable
cause, it does not include all the facts that I have learned
during the course of my investigation. Where the contents of
documents and the actions, statements, and conversations of
others are reported herein, they are reported in substance and
in part, except where otherwise indicated.




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                                Overview

          4.   Based on my involvement in this investigation,
and as set forth in greater detail below, I have become aware of
a scheme in which JOSHUA HALL, the defendant, defrauded hundreds
of victims by making false representations in the course of
raising funds for a purported political affinity organization
(“the Fictitious Political Organization”), for the ostensible
purpose of supporting the reelection of the individual who was
at that time serving as President of the United States (“the
President”). However, the Fictitious Political Organization did
not exist and HALL used the funds raised for his own personal
living expenses.

          5.   Central to the scheme was the impersonation by
JOSHUA HALL, the defendant, of members of the President’s
family, among others, through his creation and use of social
media accounts bearing those family members’ names and
photographs. HALL used those accounts to amass more than
100,000 followers on social media and obtain media coverage, a
public platform he then exploited to confer on himself and the
Fictitious Political Organization a false imprimatur of close
ties with the President’s family and to encourage victims to
make monetary contributions to the Fictitious Political
Organization.

          6.   In total, the scheme devised and executed by
JOSHUA HALL, the defendant, yielded thousands of dollars from
hundreds of victims located throughout the United States,
including in the Southern District of New York.

 HALL’s Identity Theft and Fraudulent Online Fundraising Scheme

          7.   Based on my review of the contents of email and
social media accounts obtained by judicially authorized search
warrants, records provided by a crowdfunding website (the
“Crowdfunding Website”), and records provided by financial
institutions, I have learned, among other things, the following:

               a.   From in or about September 2019 through in
or about November 2020, JOSHUA HALL, the defendant, created
several social media accounts bearing the names and photographs
of other persons, which he used to impersonate those individuals
in public posts and private messages. The posts and messages,
among other things, included purported endorsements of HALL and

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the Fictitious Political Organization and encouraged others to
follow HALL’s personal social media account, which, beginning in
July 2020, HALL used to frequently solicit funds for the
Fictitious Political Organization.

               b.   On or about July 9, 2020, HALL launched a
fundraising campaign for the Fictitious Political Organization
on the Crowdfunding Website. According to statements HALL made
on the webpage for the Fictitious Political Organization on the
Crowdfunding Website, the campaign was to fund “field
organizing, events, and merchandise” for the Fictitious
Political Organization, ostensibly in support of the President’s
reelection effort.

               c.   The individuals whom HALL impersonated on
social media principally included members of the President’s
family. Specifically, on or about July 12, 2020, HALL created
and began using a social media account bearing the name and
photograph of one of the President’s siblings (“Victim-1”).
HALL used that social media account to make numerous posts that
were purported to be made by Victim-1. For example, on July 23,
2020, HALL, impersonating Victim-1, made a public social media
post that falsely stated that Victim-1 “runs” the Fictitious
Political Organization with HALL and that “Josh is doing great
work so please give him a follow and support him!” HALL also
used the account in Victim-1’s name to refer others to HALL’s
personal social media account, from which he repeatedly made
solicitations for the Fictitious Political Organization.

               d.   Approximately three days after Victim-1’s
death was publicly reported on or about August 15, 2020, HALL
created and began using a social media account bearing the name
and photograph of the President’s minor child (“Victim-2”).
HALL used that social media account to make numerous posts that
were purported to be made by Victim-2. For example, on or about
August 23, 2020, HALL, impersonating Victim-2, made a public
social media post that stated that HALL was Victim-2’s “friend
and partner” and that “Josh is an amazing patriot who is doing
tremendous things for our great country. He has my COMPLETE AND
TOTAL ENDORSEMENT!” HALL also used the account in Victim-2’s
name to refer others to HALL’s personal social media account,




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from which he repeatedly made solicitations for the Fictitious
Political Organization.

               e.   Throughout the execution of the scheme, HALL
made false statements to potential contributors about his online
fundraising for the Fictitious Political Organization. For
example, on or about August 16, 2020, HALL sent a private
message on social media falsely stating that the funds raised
for the Fictitious Political Organization on the Crowdfunding
Website would be spent on “field organization and merchandise,”
and that he “hadn’t seen a dime of that money personally.”

                f.  In or about December 2020, the Crowdfunding
Website contacted HALL and repeatedly requested documentation
showing how HALL used the funds raised for the Fictitious
Political Organization. HALL never provided any such
documentation. The Crowdfunding Website subsequently closed
HALL’s account.

               g.   In total, the aforementioned scheme devised
and executed by HALL yielded thousands of dollars from hundreds
of victims located throughout the United States, including in
the Southern District of New York, which HALL used on his own
personal living expenses.


     WHEREFORE, deponent respectfully requests that a warrant be
issued for the arrest of JOSHUA HALL, the defendant, and that he
be arrested and imprisoned or bailed, as the case may be.


                                  /s Katrina Laperuta_(By Court
                                  with authorization)_
                                  KATRINA LAPERUTA
                                  SPECIAL AGENT
                                  FEDERAL BUREAU OF INVESTIGATION
Sworn to before me by
reliable electronic means
on this 1st day of June, 2021


__________________________________
THE HONORABLE SARAH L. CAVE
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK

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